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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION



UNITED STATES OF AMERICA,                           )
                     Plaintiff                      )
                                                    )
                                                    )
                      v.                            ) CASE NO: 3:23-CR-00014-DJH
                                                    )
BRYAN DOUGLAS CONLEY,                               )
                   Defendant                        )
                                                    )
                                                    )


                               ORDER ON DEFENDANT’S
                              MOTION FOR CONTINUANCE

       This matter is before the Court on the Defendant’s Motion for a continuance of the April

17, 2023, jury trial date. The Court, having considered the motion, now finds that the motion for

continuance should be granted.

       IT IS THEREFORE ORDERED that the April 17, 20223, trial date is VACATED. This

action is RESCHEDULED for a Final Pretrial Conference on _________________, 2023; trial by

jury on ____________, 2023, at ________ A.M.

       IT IS SO ORDERED.




Distribution: Counsel of Record
